                                                                          pa rtment of) us'cice
                                                               Fedei                 Prisons

                                                                                rison Camp
                                                               V! ■!■ >.■■;. ' , ■||)i 24'."|H
Office of tfie "Warden                                            • >er 30, 2021
Natalie Sours Edwards
92703-083
FPC Alderson
Glen Ray Road, Box A
Alderson, WV 24910
                                                               Re: .; issionate Release
                                                                   Request
Dear Ms. Sours Edward;

Your request for Reduction in Sentence (RIS)/Compassionate Re.ease based on concerns about
COVID-19 and having a debilitating medical condition, received on September 10, 2021 has
been reviewed. After careful consideration, your request is denied. Please note that RIS
is a separate program from the changes to home confinement eligibility in response to the
Coronavirus Aid, Relief, and Economic Security Act: (CARES Act) .
Title 18 of the United States Code, section 3582(c)(1)(A), allows a sentencino court, or
motion of the Director of the Bureau of Prisons (BOP), to reduce a tern, of imprisonment
for extraordinary or compelling reasons. BOP Program Statement Mo. 5050.50, Compassionate
Release/Reduction in Sentence: Procedures for Implementation of .16 U.S.C. §§ 3582(C) (1) (A)
and 4205 (g_)_, provides guidance on the types of circumstances that present extraordinary'
or compelling reasons, such as the inmate's terminal medical condition; debilitated medical
condition; status as a "new Law" elderly inmate, an elderly inmate with medical conditions
or an "other elderly inmate"; the death or incapacitation of the family member caregiver
or the inmate's child; or the incapacitation of the Lnmate's spouse or registered partner.
Your request has been evaluated consistent with this general guidance.

The BOP is taking measures to contain the spread of COVID-19 and treat any affected inmates
We recognize that you, like all of us, have legitimate concerns and fears about th« so^ead
and effects of the virus. However, your concern about being potentially exposed t'o or
possibly contracting, COVID-19 does not currently warrant an early release from your
sentence. Your medical records have been evaluated to determine if you have any conditions
that meet the criteria for any of the medical related RIS categories. You do not have anv
medical conditions or level of functioning that meet the criteria for the categories as
set rorth in policy The debilitated me U : i lition category of RIS reouires that you
nave a debilitating illness or injury from which you will not recover that renders you onlv
capacle of limited self-care and confined to a bed or chair more than 50 of you- wakino
h o u r s , a c c o r d i n g l y, y o u r R I S r e q u e s t i s d e n i e d a t t h i s t i m e . "

You have the right to appeal this decision via the Administrative Remedy Procedure as
outlinea                     in                   p o l i c y.               '

                                                                       ■ fly,

                                                              ::. Carver, Warden   .V



       Unit Team
